                                Case 18-14610        Doc 5    Filed 04/09/18      Page 1 of 1

                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF MARYLAND
                                             at Baltimore
                                     In re:    Case No.: 18−14610 − MMH         Chapter: 7

3−D Concepts, LLC
Debtor


                                              DEFICIENCY NOTICE
DOCUMENT:                  1 − Chapter 7 Voluntary Petition Non−Individual. Fee Amount $335 Filed by 3−D Concepts,
                           LLC. (Ominsky, Marc)

PROBLEM:                   The following items are deficient for the above pleading, and must be cured by 4/23/18.

CURE:                      The Resolution of Board of Directors must be signed by the


CONSEQUENCE: Failure to cure the problem(s) by the date above may result in the pleading being stricken or
             other action the Court deems appropriate without further notice. For a proposed order, the failure
             to cure the problem(s) may result in the relief sought being denied for want of prosecution.


Additional information on filing requirements: http://www.mdb.uscourts.gov/content/filing−requirements.
Additional information for non−attorney filers: http://www.mdb.uscourts.gov/content/after−filing.

Dated: 4/9/18
                                                                Mark A. Neal, Clerk of Court
                                                                by Deputy Clerk, Jennifer Whitfield
                                                                301−344−3326
cc:    Debtor
       Attorney for Debtor − Marc A. Ominsky

defntc (rev. 12/12/2016)
